        Case 4:11-cr-00082-JLH        Document 61       Filed 09/12/12     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                NO. 4:11CR00082-01 JLH

COURTNEY JABRAN CLARK                                                            DEFENDANT

                                           ORDER

       The motion to dismiss filed by the United States of America is GRANTED. Document #60.

The indictment against Courtney Jabran Clark is hereby dismissed without prejudice.

       IT IS SO ORDERED this 12th day of September, 2012.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
